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 5 Attorneys for Plaintiff EDWARD PAO

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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10

11 EDWARD PAO, an individual,    )                  CASE NO.: SACV13-00037-JVS (ANx)
                                 )
12                               )                  NOTICE OF SETTLEMENT AND
                 Plaintiff,      )                  REQUEST FOR DISMISSAL OF
13                               )                  ENTIRE CASE
                                 )
14         vs.                   )                  [PROPOSED] ORDER FILED
                                 )                  CONCURRENTLY
15                               )
                                 )
16   LEGAL RECOVERY LAW OFFICES, )
     INC., etc.,                 )
17                               )
                                 )
18                               )
                 Defendants.     )
19                               )
                                 )
20                               )
21

22          TO THE HONORABLE COURT HEREIN:
23          PLEASE TAKE NOTICE that the parties have entered into a settlement
24 agreement which resolves all of the issues in the above-captioned matter.

25 Performance under that agreement is to be completed within approximately sixty

26 days.

27          The parties stipulate and request that the Court should now dismiss this matter,
28 while retaining jurisdiction over the parties to enforce the settlement agreement, if

       SACV13-00037 JVS (Anx)                   1          STIPULATION FOR DISMISSAL
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 1 needed.

 2         IT IS SO STIPULATED.
 3

 4                                               Respectfully submitted,
 5

 6 Dated: October 18, 2013             By:         /S/ Aidan W. Butler
                                                 Aidan W. Butler
 7                                               Attorneys for Plaintiff
                                                 EDWARD PAO
 8

 9

10                                               LAW OFFICE OF HUNTER
                                                 HOESTENBACH
11

12 Dated: October 18, 2013             By:         /S/ Hunter Hoestenbach
                                                 Hunter Hoestenbach
13                                               Attorneys for Defendant
                                                 LEGAL RECOVERY LAW OFFICES,
14                                               INC.
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      SACV13-00037 JVS (Anx)                 2            STIPULATION FOR DISMISSAL
